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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION

IN RE: COLOPLAST CORP. PELVIC
SUPPORT SYSTEMS
PRODUCTS LIABILITY LITIGATION
                                                               MDL NO. 2387
_________________________________________________________________________
THIS DOCUMENT RELATES TO

ALL COLOPLAST WAVE 5, 6, AND 7
CASES


          DEFENDANT COLOPLAST CORP.’S MOTION TO EXCLUDE
      OR LIMIT THE OPINION TESTIMONY OF BRUCE ROSENZWEIG, M.D.

           PLEASE TAKE NOTICE that upon Defendant Coloplast Corp.’s (“Coloplast”)

  Motion to Exclude or Limit the Opinion Testimony of Bruce Rosenzweig, M.D., the exhibits

  attached hereto, the supporting Memorandum of Law, and all papers and pleadings on file in

  this action, Coloplast will move this Court, before the Honorable Joseph R. Goodwin, United

  States District Judge, in the Robert C. Byrd United States Courthouse, located at 300

  Virginia Street East, Charleston, West Virginia 25301, for (i) an Order excluding or limiting

  the opinions and/or testimony of this expert witness, and (ii) such other and further relief as

  the Court deems just and proper.

           The Exhibits attached hereto are as follows:

           •   Exhibit 1: List of Cases to which this motion applies;

           •   Exhibit 2: Excerpts of Expert Report (POP) of Bruce Rosenzweig;

           •   Exhibit 3: Excerpts of Expert Report (T-Sling) of Bruce Rosenzweig;

           •   Exhibit 4: Excerpts of Expert Report (Aris) of Bruce Rosenzweig;

           •   Exhibit 5: Excerpts of 5/2/19 General Deposition of Bruce Rosenzweig;
               and
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           •   Exhibit 6: Excerpts of 9/22/15 In re Ethicon Deposition of Bruce Rosenzweig.



Dated: May 13, 2019                         Respectfully submitted,


                                            /s/ Lana K. Varney
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                              CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2019, I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system which will send notification of such filing to the

CM/ECF participants registered to receive service in this MDL.



                                            /s/ Lana K. Varney
                                            Lana K. Varney
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